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           IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

SUSAN ANDERSON and TIMOTHY
BUCKLEY,
762 Watchung Road
Bound Brook, NJ 08805
                      Plaintiffs
       v.                                     CIVIL ACTION – LAW

PENSKE TRUCK LEASING CO., L.P.,               NO.:
2675 Morgantown Road
Reading, PA 19607;

PENSKE LOGISTICS, LLC,
2675 Morgantown Road
Reading, PA 16907;                            ELECTONICALLY FILED

TRANSERVICE LOGISTICS, INC.,
5 Dakota Drive
Lake Success, New York 11042;

MICHAEL DAVID KINNICK,
Administrator of the Estate of ALFRED
KINNICK,
1015 Washington College Station Road,
Limestone, TN 37681;

FEDEX GROUND PACKAGE SYSTEM,
INC.
1000 FedEx Drive
Coraopolis, PA 15108;

FEDERAL EXPRESS CORPORATION,
942 South Shady Grove Road
Memphis, TN 38120;

SHOTA MANVELIDZE,
12 Frances Avenue Apartment 2B,
Nyack, NY 10960;
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A-1 LIMOUSINE, INC.,
4458 Commerce Drive
White Hall, PA 18052;

KEITH COYLE,
32 Sam Brooke Circle
Lehighton, PA 18235;

GATES EQUIPMENT SERVICES,
P.O. Box 250
Lindsay, TX 76250;

LONE STAR TRANSPORTATION, LLC,
1100 North Way Drive
Fort Worth, TX 76131;

SOLOMON GARRETT,
100 Trelawney Circle
Covington, GA 30016; and

OMAR PLACENCIO-CORREA,
437 East End
Lancaster, PA 17602
                  Defendants

                                 COMPLAINT

      Plaintiffs, Susan Anderson and Timothy Buckley by and through their

attorneys, HANDLER, HENNING & ROSENBERG, LLP, make the within Complaint

against the Defendants, and aver as follows:

      1.    This Court has jurisdiction under the provisions of 28 U.S.C. § 1332.




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      2.    Venue lies in the Middle District of Pennsylvania under 28 U.S.C. §

1391 as this case involves multiple motor vehicle collisions that occurred in the

Middle District of Pennsylvania.

      Parties

      3.    Plaintiffs Susan Anderson and Timothy Buckley are husband and wife,

residing in Bound Brook, Somerset County, New Jersey 08805.

      4.    Defendant, Penske Truck Leasing Co., L.P., is a truck leasing company,

doing business in the Middle District of Pennsylvania with principal offices located

at 2675 Morgantown Road, Reading, PA 19607.

      5.    Defendant, Penske Logistics, LLC, is a supply chain and logistics

company, doing business in the Middle District of Pennsylvania with principal

offices located at 2675 Morgantown Road, Reading, PA 19607.

      6.    Defendant, Transervice Logistics, Inc. is a supply chain and logistics

company, doing business in the Middle District of Pennsylvania with principal

offices located at 5 Dakota Drive, Lake Success, New York 11042.

      7.    Defendant, Michael D. Kinnick, is the Administrator of the Estate of

Alfred Kinnick. He resides at 1015 Washington College Station Road, Limestone,

TN 37681.

      8.    Defendant FedEx Ground Package System, Inc. is a company that

transports products, doing business in the Middle District of Pennsylvania with


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principal offices located at 1000 FedEx Drive, Coraopolis, PA 15108.

      9.    Defendant Federal Express Corporation is a company that transports

products, doing business in the Middle District of Pennsylvania with principal

offices located at 942 South Shady Grove Road, Memphis, TN 38120.

      10.   Defendant, Shota Manvelidze is an adult individual residing at 12

Frances Avenue, Apartment 2B, Nyack, NY 10960.

      11.   Defendant A-1 Limousine, Inc., is a transportation company located at

4458 Commerce Drive, White Hall, Lehigh County, PA 18052.

      12.   Defendant Keith Coyle is an adult individual residing at 32 Sam Brooke

Circle, Lehighton, Carbon County, PA 18235.

      13.   Defendant Gates Equipment Services is a trucking company, doing

business in the Middle District of Pennsylvania with a principal office located at

P.O. Box 200, Lindsay, TX 76250.

      14.   Defendant Lone Star Transportation, LLC is a trucking company, doing

business in the Middle District of Pennsylvania with a principal office located at

1100 North Way Drive, Fort Worth, TX 76131.

      15.   Defendant Solomon Garrett is an adult individual residing at 100

Trelawney Circle, Covington, GA 30016.




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Alfred Kinnick , Penske Truck Leasing Co., L.P., Penske Logistics, LLC, and
Transervice Logistics, Inc.

      16.    At all times material hereto, Alfred Kinnick was a professional

commercial vehicle driver.

      17.    At the time of the subject motor vehicle collisions, Alfred Kinnick was

operating a 2016 Freightliner tractor, pulling a trailer, on behalf of Defendant Penske

Truck Leasing Co., L.P. (Penske Truck Leasing) and/or Penske Logistics, LLC

(Penske Logistics) (collectively, Penske Defendants).

      18.    At the time of the subject motor vehicle collisions, Alfred Kinnick was

operating a 2016 Freightliner tractor, pulling a trailer, on behalf of Defendant

Transervice Logistics, Inc.

      19.    Defendant Penske Truck Leasing is a commercial truck leasing

company operating under U.S. Department of Transportation (DOT) No. 327574.

      20.    Defendant Penske Logistics is a supply chain and logistics company

operating under DOT No. 268015, and operating with motor carrier authority under

Motor Carrier (MC) No. 143308.

      21.    Defendant Transervice Logistics, Inc. is a supply chain and logistics

company operating under DOT No. 620402, and operating with motor carrier

authority under MC No. 295793.

      22.    At all times material hereto, Alfred Kinnick was required to follow and

obey the Federal Motor Carrier Safety Regulations and the laws of Pennsylvania.

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      23.    At all times material hereto, the Penske Defendants were required to

follow and obey the Federal Motor Carrier Safety Regulations and the laws of

Pennsylvania.

      24.    At all times material hereto, Defendant Transervice Logistics, Inc. was

required to follow and obey the Federal Motor Carrier Safety Regulations and the

laws of Pennsylvania.

      25.    At all times material hereto, Alfred Kinnick was operating the 2016

Freightliner tractor with the express permission of the Defendant Penske Truck

Leasing.

      26.    At all times material hereto, Alfred Kinnick was operating the 2016

Freightliner tractor with the express permission of the Defendant Penske Logistics.

      27.    At all times material hereto, Alfred Kinnick was operating the 2016

Freightliner tractor with the express permission of Transervice Logistics, Inc.

      28.    At all times material hereto, Alfred Kinnick was an employee, agent or

servant of Defendant Penske Trucking Leasing, and in performing the acts alleged

in this Complaint, was acting within the course and scope of such employment,

agency, direction and commission.

      29.    At all times material hereto, Alfred Kinnick was an employee, agent or

servant of Defendant Penske Logistics, and in performing the acts alleged in this

Complaint, was acting within the course and scope of such employment, agency,


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direction and commission.

      30.     At all times material hereto, Alfred Kinnick was an employee, agent or

servant of Defendant Trnaservice Logistics, Inc., and in performing the acts alleged

in this Complaint, was acting within the course and scope of such employment,

agency, direction and commission.

Shota Manvelidze, FedEx Ground Package System, Inc. and Federal Express
Corporation

      31.     At all times material hereto, Defendant Shota Manvelidze was a

professional commercial vehicle driver.

      32.     At the time of the subject motor vehicle collisions, Defendant Shota

Manvelidze was operating a 2009 Volvo Tractor, pulling two trailers on behalf of

Defendant FedEx Ground Package System, Inc. (FedEx Ground) and/or Federal

Express Corporation (Federal Express) (collectively, FedEx Defendants).

      33.     Defendant FedEx Ground is an interstate commercial carrier that

operates under the DOT No. 265752, and with motor carrier authority under MC No.

179059.

      34.     Defendant Federal Express is an interstate commercial carrier that

operates under the DOT No. 86876, and with motor carrier authority under MC No.

66562.

      35.     At all times material hereto, Defendant Shota Manvelidze was required

to follow and obey the Federal Motor Carrier Safety Regulations and the laws of

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Pennsylvania.

      36.   At all times material hereto, the FedEx Defendants were required to

follow and obey the Federal Motor Carrier Safety Regulations and the laws of

Pennsylvania.

      37.   At all times material hereto, Defendant Shota Manvelidze was

operating the 2009 Volvo tractor, pulling two trailers, with the express permission

of Defendant FedEx Ground.

      38.   At all times material hereto, Defendant Shota Manvelidze was

operating the 2009 Volvo tractor, pulling two trailers, with the express permission

of Defendant Federal Express.

      39.   At all times material hereto, Defendant Shota Manvelidze was an

employee, agent or servant of Defendant FedEx Ground, and in performing the acts

alleged in this Complaint, was acting within the course and scope of such

employment, agency, direction and commission.

      40.   At all times material hereto, Defendant Shota Manvelidze was an

employee, agent or servant of Defendant Federal Express, and in performing the acts

alleged in this Complaint, was acting within the course and scope of such

employment, agency, direction and commission.




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Keith Coyle and A-1 Limousine, Inc.

      41.    At all times material hereto, Defendant Keith Coyle was a professional

commercial vehicle driver.

      42.    At the time of the subject motor vehicle collisions, Defendant Keith

Coyle was operating a 2002 bus on behalf of Defendant A-1 Limousine, Inc.

      43.    Defendant A-1 Limousine, Inc., is an interstate commercial carrier that

operates under DOT No.153671, and with motor carrier authority under MC No.

77751.

      44.    At all times material hereto, Defendant Keith Coyle was required to

follow and obey the Federal Motor Carrier Safety Regulations and the laws of

Pennsylvania.

      45.    At all times material hereto, Defendant A-1 Limousine, Inc. was

required to follow and obey the Federal Motor Carrier Safety Regulations and the

laws of Pennsylvania.

      46.    At all times material hereto, Defendant Keith Coyle was operating the

bus with the expressed permission of Defendant A-1 Limousine, Inc.

      47.    At all times material hereto, Defendant Keith Coyle was an employee,

agent or servant of Defendant A-1 Limousine, Inc., and in performing the acts

alleged in this Complaint, was acting within the course and scope of such

employment, agency, direction and commission.


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Solomon Garrett, Gates Equipment Services, and Lone Star Transportation,
LLC

      48.   At all times material hereto, Defendant Solomon Garrett was a

professional commercial vehicle driver.

      49.   At the time of the subject motor vehicle collisions, Defendant Solomon

Garrett was operating a 2007 Peterbilt tractor, pulling a trailer on behalf of

Defendant Gates Equipment Services (Gates Equipment) and/or Lone Star

Transportation, LLC (Lone Star).

      50.   Defendant Gates Equipment Services is a trucking company and/or

interstate commercial carrier that operates under the U.S. Department of

Transportation.

      51.   Defendant Lone Star is an interstate commercial carrier that operates

under the DOT No. 320691, and with motor carrier authority under MC No. 210209.

      52.   At all times material hereto, Defendant Solomon Garrett was required

to follow and obey the Federal Motor Carrier Safety Regulations and the laws of

Pennsylvania.

      53.   At all times material hereto, Defendant Gates Equipment was required

to follow and obey the Federal Motor Carrier Safety Regulations and the laws of

Pennsylvania.

      54.   At all times material hereto, Defendant Lone Star was required to

follow and obey the Federal Motor Carrier Safety Regulations and the laws of

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Pennsylvania.

      55.    At all times material hereto, Defendant Solomon Garrett was operating

a 2007 Peterbilt tractor, pulling a trailer, with the express permission of Defendant

Gates Equipment

      56.    At all times material hereto, Defendant Solomon Garrett was operating

a 2007 Peterbilt tractor, pulling a trailer, with the express permission of Defendant

Lone Star.

      57.    At all times material hereto, Defendant Solomon Garrett was an

employee, agent or servant of Defendant Gates Equipment, and in performing the

acts alleged in this Complaint, was acting within the course and scope of such

employment agency direction and commission.

      58.    At all times material hereto, Defendant Solomon Garrett was an

employee, agent or servant of Defendant Lone Star, and in performing the acts

alleged in this Complaint, was acting within the course and scope of such

employment agency direction and commission.

Omar Placencio-Correa

      59.    At all times material hereto, Defendant Omar Placencio-Correa was a

professional commercial vehicle driver.

      60.    At the time of the subject motor vehicle collisions, Defendant Omar

Placencio-Correa was operating a 2001 Freightliner tractor, pulling Great Dane


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trailer.

       61.     At all times material hereto, Defendant Omar Placencio-Correa was

required to follow and obey the Federal Motor Carrier Safety Regulations and the

laws of Pennsylvania.

       62.     As a direct and proximate result of the combined negligence of all the

Defendants, Plaintiffs Susan and Timothy Buckley sustained damages as set forth

more specifically below.

FEBRUARY 13, 2016 MOTOR VEHICLE COLLISIONS

       63.     On February 13, 2016, Plaintiff Susan Anderson was a passenger in a

2006 Ford F150 pick-up truck being operated by John Casale, 40 Willow Avenue,

Somerset, NJ 08873.

       64.     Mr. Casale was operating his pick-up truck traveling west on Interstate

78.

       65.     Mr. Casale encountered adverse weather and had difficulty seeing as he

proceeded on Interstate 78.

       66.     Notwithstanding the adverse weather and difficulty seeing, Mr. Casale

proceeded to drive his pick-up truck without properly controlling the truck, causing

it to crash into the vehicle owned by Defendant A-1 Limousine, Inc.




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       67.    After Mr. Casale’s pick-up truck collided into the Defendant A-1

Limousine vehicle, the rear of the Casale pick-up truck was then impacted on a

number of occasions.

       68.    As a result of the numerous impacts, Plaintiff Susan Anderson

sustained harm.

                           COUNT I – NEGLIGENCE
         Susan Anderson v. Michael David Kinnick, the Administrator
     for the Estate of Alfred Kinnick and Penske Truck Leasing, Co., L.P.
                           And Penske Logistics, LLC

       69.    All prior paragraphs are incorporated herein as if fully set forth below.

       70.    The aforementioned collisions and the damages sustained by Plaintiffs

Susan Anderson and Timothy Buckley were caused directly and proximately by

Alfred Kinnick’s negligence while in the scope of his employment with Defendant

Penske, generally and more specifically as set forth below.

              a.    Operating a truck at a speed that was too fast given the adverse

weather conditions;

              b.    In failing to abide by the assured clear distance ahead rule;

              c.    In failing to have sufficient control of Defendant Penske’s

tractor-trailer, given the adverse weather conditions;

              d.    In failing to be continuously alert and control a commercial

tractor-trailer;



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             e.       In causing his tractor-trailer to “jack knife”, thereby blocking

Interstate 78, causing the numerous vehicles, traveling west on Interstate 78 to crash,

including the collisions involving Plaintiff, Susan Anderson;

             f.       In failing to have Defendant Penske’s truck under such control

that injury to persons or property could be avoided;

             g.       In failing to be reasonably diligent to observe the road conditions

then and there existing;

             h.       In driving Defendant Penske’s truck with careless disregard for

the safety of persons or property in violation of 75 Pa. C.S.A. §3714;

             i.       Mr. Kinnick was operating a tractor trailer while talking on his

cell phone, therefore being distracted from safely operating a tractor-trailer.

                      COUNT II - RESPONDEAT SUPERIOR
                  Susan Anderson v. Penske Truck Leasing Co., L.P.
                            and Penske Logistics, LLC

      71.    All prior paragraphs are incorporated herein as if fully set forth below.

      72.    At all material times hereto, Mr. Kinnick was an agent, servant or

employee of Defendant Penske Truck Leasing and/or Penske Logistics.

      73.    As a direct and proximate result of Mr. Kinnick’s negligence, Plaintiff

Susan Anderson sustained harm.

      74.    The negligent conduct of Mr. Kinnick occurred while acting in and

upon the business of Defendant Penske Truck Leasing and/or Penske Logistics.


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      75.    Defendant Penske Truck Leasing and/or Defendant Penske Logistics is

vicariously liable for Plaintiff, Susan Anderson’s harm, as a result of the subject

motor vehicle collisions.

                        COUNT III – NEGLIGENCE
        Susan Anderson v. Michael David Kinnick, the Administrator
       For the Estate of Alfred Kinnick and Transervice Logistics, Inc.

      76.    All prior paragraphs are incorporated herein as if fully set forth below.

      77.    The aforementioned collisions and the damages sustained by Plaintiffs

Susan Anderson and Timothy Buckley were caused directly and proximately by

Alfred Kinnick’s negligence while in the scope of his employment with Defendant

Transervice Logistics, Inc., generally and more specifically as set forth below.

             a. Operating a truck at a speed that was too fast given the adverse

                weather conditions;

             b. In failing to abide by the assured clear distance ahead rule;

             c. In failing to have sufficient control of Defendant Transervice

                Logistic’s tractor-trailer, given the adverse weather conditions;

             d. In failing to be continuously alert and control a commercial tractor;

             e. In causing his tractor-trailer to “jack knife”, thereby blocking

                Interstate 78, causing the numerous vehicles, traveling west on

                Interstate 78 to crash, including the collisions involving Plaintiff,

                Susan Anderson;


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            f. In failing to have Defendant Transervice Logistic Inc.’s truck under

                such control that injury to persons or property could be avoided;

            g. In failing to be reasonably diligent to observe the road conditions

                then and there existing;

            h. In driving Defendant Transervice Logistic Inc.’s truck with careless

                disregard for the safety of persons or property in violation of 75 Pa.

                C.S.A. §3714;

            i. Mr. Kinnick was operating a tractor trailer while talking on his cell

                phone, therefore being distracted from safely operating a tractor-

                trailer.

                  COUNT IV - RESPONDEAT SUPERIOR
                 Susan Anderson v. Transervice Logistics, Inc.

      78.   All prior paragraphs are incorporated herein as if fully set forth below.

      79.   At all material times hereto, Mr. Kinnick was an agent, servant and/or

employee of Defendant Transervice Logistics, Inc.

      80.   As a direct and proximate result of Mr. Kinnick’s negligence, Plaintiff

Susan Anderson sustained harm.

      81.   The negligent conduct of Mr. Kinnick occurred while acting in and

upon the business of Transervice Logistic, Inc.

      82.   Defendant Transervice Logistics, Inc. is vicariously liable for Plaintiff,

Susan Anderson’s harm, as a result of the subject motor vehicle collisions.

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                      COUNT V – NEGLIGENCE
                Susan Anderson v. Shota Manvelidze and
    FedEx Ground Package System, Inc. and Federal Express Corporation

      83.    All prior paragraphs are incorporated herein as if fully set forth below.

      84.    The aforementioned collisions and the damages sustained by Plaintiffs

Susan Anderson and Timothy Buckley were caused directly and proximately by

Defendant Shota Manvelidze’s negligence while in the scope of his employment

with Defendant FedEx Ground and/or Federal Express, generally and more

specifically as set forth below.

             a.   Operating a truck at a speed that was too fast given the adverse

                  weather conditions;

             b.   In failing to abide by the assured clear distance ahead rule;

             c.   In failing to have sufficient control of Defendant FedEx

                  Ground/Federal Express’s truck, given the adverse weather

                  conditions;

             d.   In failing to be continuously alert and control a commercial

                  tractor-trailer;

             e.   Coming to a sudden stop in the middle of Interstate 78, thereby

                  blocking all west bound travel lanes when he had the opportunity

                  to pull off the travel portion of Interstate 78, thus causing




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                 numerous collisions behind him, including the collisions involving

                 Plaintiff Susan Anderson;

            f.   In failing to have Defendant FedEx Ground/Federal Express’s

                 truck under such control that injury to persons or property could

                 be avoided;

            g.   In failing to be reasonably diligent to observe the road conditions

                 then and there existing;

            h.   In driving Defendant FedEx Ground/Federal Express’s truck with

                 careless disregard for the safety of persons or property in violation

                 of 75 Pa. C.S.A. §3714;

                        COUNT VI – RESPONDEAT SUPERIOR
                 Susan Anderson v. FedEx Ground Package System, Inc. and
                              Federal Express Corporation

      85.   All prior paragraphs are incorporated herein as if fully set forth below.

      86.   At all material times hereto, Defendant Manvelidze was an agent,

servant and/or employee of Defendant FedEx Ground and/or Federal Express.

      87.   As a direct and proximate result of Defendant Manvelidze’s negligence,

Plaintiff Susan Anderson sustained harm.

      88.   The negligent conduct of Defendant Manvelidze occurred while acting

in and upon the business of Defendant FedEx Ground and/or Federal Express.




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      89.     Defendant FedEx Ground and/or Federal Express is vicariously liable

for Plaintiff, Susan Anderson’s harm, as a result of the subject motor vehicle

collisions.

                         COUNT VII - NEGLIGENCE
              Susan Anderson v. Keith Coyle and A-1 Limousine, Inc.


      90.     All prior paragraphs are incorporated herein as if fully set forth below.

      91.     The aforementioned collisions and the damages sustained by Plaintiffs

Susan Anderson and Timothy Buckley were caused directly and proximately by

Defendant Keith Coyle’s negligence while in the scope of his employment with

Defendant A-1 Limousine, Inc., and more specifically as set forth below.

              a. Operating a bus at a speed that was too fast given the adverse

                 weather conditions;

              b. In failing to abide by the assured clear distance ahead rule;

              c. In failing to have sufficient control of Defendant A-1 Limousine,

                 Inc’s bus, given the adverse weather conditions;

              d. In failing to be continuously alert and control a commercial bus;

              e. Coming to a sudden stop in the middle of interstate 78, thereby

                 blocking all west bound travel lanes when he had the opportunity to

                 pull off the travel portion of Interstate 78, thus causing numerous




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                collisions behind him, including the collisions involving Plaintiff

                Susan Anderson;

             f. In failing to have Defendant A-1 Limousine, Inc’s bus under such

                control that injury to persons or property could be avoided;

             g. In failing to be reasonably diligent to observe the road conditions

                then and there existing;

             h. In driving Defendant, A-1 Limousine, Inc’s bus with careless

                disregard for the safety of persons or property in violation of 75 Pa.

                C.S.A. §3714;

                     COUNT VIII – RESPONDEAT SUPERIOR
                     Susan Anderson v. A-1 Limousine, Inc.


      92.    All prior paragraphs are incorporated herein as if fully set forth below.

      93.    At all material times hereto, Defendant Coyle was an agent, servant or

employee of Defendant A-1 Limousine, Inc.

      94.    As a direct and proximate result of Defendant Coyle’s negligence,

Plaintiff Susan Anderson sustained harm.

      95.    The negligent conduct of Defendant Coyle occurred while acting in and

upon the business of Defendant A-1 Limousine, Inc.

      96.    Defendant A-1 Limousine, Inc. is vicariously liable for Plaintiff, Susan

Anderson’s harm, as a result of the subject motor vehicle collisions.


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                      COUNT IX – NEGLIGENCE
     Susan Anderson v. Solomon Garrett and Gates Equipment Services

      97.    All prior paragraphs are incorporated herein as if fully set forth below.

      98.    The aforementioned collisions and the damages sustained by Plaintiffs

Susan Anderson and Timothy Buckley were caused directly and proximately by

Defendant Solomon Garrett’s negligence while in the scope of his employment with

Defendant Gates Equipment Services, generally and more specifically as set forth

below.

             a. Operating a truck at a speed that was too fast given the adverse

                  weather conditions;

             b.    In failing to abide by the assured clear distance ahead rule;

             c.    In failing to have sufficient control of Defendant Gates Equipment

                   Services given the adverse weather conditions;

             d.    In failing to be continuously alert and control a commercial truck;

             e.    In failing to have Defendant Gates Equipment Services’ truck

                   under such control that injury to persons or property could be

                   avoided;

             f.    In failing to be reasonably diligent to observe the road conditions

                   then and there existing;




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            g.   In driving Defendant, Gates Equipment Services’ truck, with

                 careless disregard for the safety of persons or property in violation

                 of 75 Pa. C.S.A. §3714;

            h.   In driving Defendant, Gates Equipment Services’ truck into the

                 rear of John Casale’s pick-up truck, causing harm to Plaintiff

                 Susan Anderson.

                    COUNT X – RESPONDEAT SUPERIOR
     Susan Anderson v. Solomon Garrett and Gates Equipment Services


      99.   All prior paragraphs are incorporated herein as if fully set forth below.

      100. At all material times hereto, Defendant Garrett was an agent, servant or

employee of Defendant Gates Equipment Services.

      101. As a direct and proximate result of Defendant Garrett’s negligence,

Plaintiff Susan Anderson sustained harm.

      102. The negligent conduct of Defendant Garrett occurred while acting in

and upon the business of Defendant Gates Equipment Services.

      103. Defendant Gates Equipment Services is vicariously liable for Plaintiff,

Susan Anderson’s harm, as a result of the subject motor vehicle collisions.




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                      COUNT XI – NEGLIGENCE
  Susan Anderson v. Solomon Garrett and Lone Star Transportation, LLC

      104. All prior paragraphs are incorporated herein as if fully set forth below.

      105. The aforementioned collisions and the damages sustained by Plaintiffs

Susan Anderson and Timothy Buckley were caused directly and proximately by

Defendant Solomon Garrett’s negligence while in the scope of his employment with

Defendant, Lone Star Transportation, LLC, generally and more specifically as set

forth below.

               a. Operating a truck at a speed that was too fast given the adverse

                  weather conditions;

               b. In failing to abide by the assured clear distance rule ahead;

               c. In failing to have sufficient control of Defendant Lone Star;

               d. In failing to be continuously alert and control a commercial truck;

               e. In failing to have Defendant Lone Star’s truck, under such control

                  that injury to persons or property could be avoided;

               f. In failing to be reasonably diligent to observe the road conditions

                  then and there existing;

               g. In driving Defendant, Lone Star’s truck, with careless disregard for

                  the safety of persons or property in violation of 75 Pa. C.S.A. §3714;

               h. In driving his truck into the rear of John Casale’s pick-up truck,

                  causing harm to Plaintiff Susan Anderson.

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                    COUNT XII – RESPONDEAT SUPERIOR
  Susan Anderson v. Solomon Garrett and Lone Star Transportation, LLC

      106. All prior paragraphs are incorporated herein as if fully set forth below.

      107. At all material times hereto, Defendant Garrett was an agent, servant or

employee of Defendant Lone Star Transportation, LLC.

      108. As a direct and proximate result of Defendant Garrett’s negligence,

Plaintiff Susan Anderson sustained harm.

      109. The negligent conduct of Defendant Garrett occurred while acting in

and upon the business of Defendant Lone Star Transportation, LLC.

      110. Defendant Lone Star Transportation, LLC. is vicariously liable for

Plaintiff, Susan Anderson’s harm, as a result of the subject motor vehicle collisions.

                        COUNT XIII – NEGLIGENCE
                   Susan Anderson v. Omar Placencio-Correa

      111. All prior paragraphs are incorporated herein as if fully set forth below.

      112. The aforementioned collisions and the damages sustained by Plaintiffs

Susan Anderson and Timothy Buckley were caused directly and proximately by

Defendant Omar Placencio-Correa, generally and more specifically as set forth

below.

             a. Operating a truck at a speed that was too fast given the adverse

                weather conditions;

             b. In failing to abide by the assured clear distance ahead rule;


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             c. In failing to have sufficient control of his tractor-trailer;

             d. In failing to be continuously alert and control a commercial truck;

             e. In failing to have his tractor-trailer under such control that injury to

                persons or property could be avoided;

             f. In failing to be reasonably diligent to observe the road conditions

                then and there existing;

             g. In driving a tractor-trailer with careless disregard for the safety of

                persons or property in violation of 75 Pa. C.S.A. §3714;

             h. In driving his truck into Decedent Kinnick’s truck, causing harm to

                Plaintiff Susan Anderson.

                          CLAIM I - DAMAGES
Susan Anderson v. Michael David Kinnick, the Administrator for the Estate
 of Alfred Kinnick and Penske Truck Leasing Co., LP and Penske Logistics,
LLC, and Transervice Logistics, Inc., Shota Manvelidze and FedEx Ground
Package System, Inc. and Federal Express Corporation, Keith Coyle and A-1
 Limousine, Inc., Solomon Garrett and Gates Equipment Services and Lone
           Star Transportation, LLC, and Omar Placencio-Correa

      113. All prior paragraphs are incorporated herein as if fully set forth below.

      114. As a direct and proximate result of Defendants’ combined negligence,

Susan Anderson has suffered personal injuries including but not limited to the

following:




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    a.   A fractured right wrist, fractured cervical spine and a herniated

         disk to her cervical spine requiring anterior cervical discectomy

         and fusion surgery;

    b.   As a direct result of the Defendants’ negligence, Ms. Anderson has

         undergone continuing medical care for the aforesaid injuries;

    c.   Suffered physical pain, discomfort and mental anguish and will

         continue to endure the same for an indefinite period of time in the

         future to her physical, emotional and financial detriment and loss;

    d.   Be compelled, in order to effectuate a cure for the aforesaid

         injuries to spend money for medicine and/or medical attention and

         will require to spend money for the same purposes in the future to

         her detriment and loss;

    e.   Suffered a loss of life’s pleasures and she will continue to suffer

         the same in the future to her detriment and loss;

    f.   Has been and will in the future be hindered from attending her

         daily duties and chores to her detriment and loss;

    g.   Suffered a loss of income and loss of earning capacity;

    h.   Suffered a permanent disfigurement as a result of the cervical

         spine surgery;




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      115. Ms. Anderson believes, and therefore avers, that her injuries are serious

and permanent in nature.

                   CLAIM II – LOSS OF CONSORTIUM
Susan Anderson v. Michael David Kinnick, the Administrator for the Estate
 of Alfred Kinnick and Penske Truck Leasing Co., LP and Penske Logistics,
LLC, and Transervice Logistics, Inc., Shota Manvelidze and FedEx Ground
Package System, Inc. and Federal Express Corporation, Keith Coyle and A-1
 Limousine, Inc., Solomon Garrett and Gates Equipment Services and Lone
           Star Transportation, LLC, and Omar Placencio-Correa

      116. All prior paragraphs are incorporated herein as if set forth fully below.

      117. At all times material hereto, Plaintiffs, Susan Anderson and Timothy

Buckley, were lawfully married as man and wife.

      118. As a direct and proximate result of Defendants’ negligence, Plaintiff,

Timothy Buckley, has suffered a loss of consortium, society, and comfort from his

wife, Susan Anderson, and he will continue to suffer a similar loss in the future.

      119. As a direct and proximate result of Defendants’ negligence, Plaintiff,

Timothy Buckley, has been compelled, in order to effect a cure for his wife’s

injuries, to expend money for medicine and medical attention and will be required

to expend money for the same purposes in the future, to his detriment and loss.




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      WHEREFORE, Plaintiffs Susan Anderson and Timothy Buckley demand

judgment against Defendant Michael David Kinnick, the Administrator for the

Estate of Alfred Kinnick and Defendant Penske Truck Leasing Co., L.P., and

Defendant Penske Logistics, Inc., Defendant Shota Manvelidze and Defendant

FedEx Ground Package System, Inc. and Federal Express Corporation, Defendant

Keith Coyle and Defendant A-1 Limousine, Inc., Defendant Solomon Garrett and

Defendant Gates Equipment Services and Lone Star Transportation, LLC, and Omar

Placencio-Correa, in an amount in excess of $75,000.00, exclusive of interest and

costs and in excess of any jurisdictional amount requiring compulsory arbitration.

                                      Respectfully submitted,

                                      HANDLER, HENNING & ROSENBERG, LLP


Dated: October 17, 2017            By s/David L. Lutz
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                                     Attorney for Plaintiffs,
                                     Susan and Timothy Buckley




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